
PER CURIAM.
We affirm the order of the trial court revoking appellant’s probation. See Thomas v. State, 317 So.2d 450 (Fla.3d DCA 1975). However, we agree with appellant that there are imperfections in his sentence. The present sentence does not specify the amount of credit for time served as Section 921.161(1), Florida Statutes (1975), requires. Brooks v. State, 349 So.2d 794 (Fla.2d DCA 1977). Moreover, the phrase “at hard labor” in the sentence is improper. Brooks v. State, supra. We remand the case for correction of sentence, and appellant need not be present at that time.
HOBSON, Acting C. J., and RYDER and DANAHY, JJ., concur.
